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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

                                                    §
      IMPLICIT, LLC,
                                                    §
                  Plaintiff,                        §
             v.                                     §          Case No. 2:19-cv-00040-JRG-RSP
                                                    §          LEAD CASE
      IMPERVA, INC.,                                §
                  Defendant.                        §
                                                    §
                                                    §
      IMPLICIT, LLC,
                                                    §
                  Plaintiff,                        §
             v.                                     §          Case No. 2:19-cv-00037-JRG-RSP
                                                    §          CONSOLIDATED CASE
      JUNIPER NETWORKS, INC.,                       §
                  Defendant.                        §
                                                    §

                                                 ORDER

            Before the Court is Plaintiff Implicit, LLC’s (“Implicit”) Unopposed Motion for Extension
 .
     of Time (“Motion for Extension”) (Dkt. No. 181), which seeks to extend the time for Plaintiff to

     file a response to Defendant Juniper Networks, Inc.’s (“Juniper”) Opposed Motion to Disqualify

     Dr. Kevin Almeroth as an Expert for Implicit (“Motion to Disqualify”) (Dkt. No. 177). The Motion

     for Extension requests an extension up to and through January 17, 2020 to file the response. Dkt.

     No. 181.

            After consideration, the Court GRANTS Implicit’s Motion for Extension. It is therefore

     ORDERED that the deadline for Implicit to file any response to the Motion to Disqualify is

     extended up to and through January 17, 2020.
           SIGNED this 3rd day of January, 2012.
           SIGNED this 6th day of January, 2020.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
